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PS
UN|TED STATES D|STR|CT COURT
WESTERN DlSTR|CT OF NEW YORK

 

W|LL|AM JA|V|ES,
Plaintiff,
-v- 16-CV-6847CJ S
ORDER
COUNTY OF IVIONROE et a|.,

Defendants.

 

|NTRODUCT|ON

Plaintiff, Wi||iam James, while a prisoner confined at the Monroe County Jai|, filed
this pro se action seeking relief under 42 U.S.C. § 1983. Docket No. 1. P|aintiff has filed
an amended Complaint as directed Docket No. 9. Plaintiff alleges that his constitutional
rights Were violated When Defendants permitted other inmates to steal his property, as
more clearly detailed in his Amended Complaint. For the reasons discussed below,
P|aintiff’s claims must be dismissed pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and 1915A
for failure to state a claim on Which relief may be granted.

D|SCUSS|ON

Sections 1915(e)(2)(B) and 1915A(a) of 28 U.S.C. require the Court to conduct an
initial screening of this Amended Complaint. |n evaluating the Amended Complaint, the
Court must accept as true all of the factual allegations and must draw all inferences in
Plaintiff’s favor. See Larkin v. Savage, 318 F.3d 138, 139 (2d Cir. 2003) (per curiam);
King v. Simpson, 189 F.3d 284, 287 (2d Cir. 1999). Whi|e “a court is obliged to construe
[pro se] pleadings libera||y, particularly When they allege civil rights violations," McEachin

v. McGuinnis, 357 F.3d 197, 200 (2d Cir. 2004)l even pleadings submitted pro se must

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meet the notice requirements of Rule 8 of the Federa| Ru|es of Civi| Procedure. Wynder
v. McMahon, 360 F.3d 73 (2d Cir. 2004). “Specific facts are not necessary,” and the
plaintiff “need only ‘give the defendant fair notice of what the . . . claim is and the grounds
upon which it rests.’ ” Erickson v. Pardus, 551 U.S. 89, 93, (2007) (quoting Bel/Atl. Corp.
v. Twomb/y, 550 U.S. 544, 555 (2007).

P|aintiff brings this action pursuant to 42 U.S.C. § 1983. "To state a valid claim
under 42 U.S.C. § 1983, the plaintiff must allege that the challenged conduct (1) was
attributable to a person acting under color of state law, and (2) deprived the plaintiff of a
right, privilege, or immunity secured by the Constitution or laws of the United States."
Whalen v. County of Fu/ton, 126 F.3d 400, 405 (2d Cir. 1997) (citing Eag/eston v. Guido,
41 F.3d 865, 875-76 (2d Cir.1994)). Based on its evaluation of the Amended Complaint,
the Court finds that P|aintiff’s claims must be dismissed pursuant to 28 U.S.C.
§ 1915(e)(2)(B)(ii) and 1915A(b) because they fail to state a claim on which relief may be
granted.

P|aintiff’s A||egations

P|aintiff alleges in his Amended Complaint that on July 2, 2016, Defendant
Terrance Smith, a Deputy at the Monroe County Jail, was to pack P|aintiff’s property for
P|aintiff’s move to a different facility. Docket No. 9, p. 3. P|aintiff alleges that Defendant
ignored the rules of the facility and permitted inmates to pack, and to stea|, P|aintiff’s
property. ld. The lost property consisted of articles of clothing, photographs of loved
onesl and court transcripts /d. at 3-4. P|aintiff filed a grievance as to his |oss, which was
sustained P|aintiff was “offered replacement items which he chose not to accept”, and

was further provided with a Notice of C|aim form. ld. P|aintiff raises these allegations as

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claims of the denial of the right to petition for redress of grievances, unreasonable search
and seizure, a violation of his right to due process of law, and conspiracy.
C|aims of Denia| of Access to Courts

P|aintiff alleges that among the items which were stolen by other inmates were
court papers including:

“purchased copies of grand jury transcripts of witness testimony, transcripts

of the court proceedings or appearances, motions and applications by both

the defense and the people, as well as related corresponding

memorandums, decisions and orders of the court relative to plaintiff’s

criminal case.”
ld. at 4. The Court construes P|aintiff’s claim that he was denied “his right to petition for
redress" as raising a claim that the loss of these papers denied him access to courts.

While it is true that under the Constitution a correctional facility may not deny an
inmate meaningful access to the courts, Bounds v. Smith, 430 U.S. 817, 828 (1977), the
mere limitation of access to legal materials, without more, does not state a constitutional
claim. See, Jermosen v. Coughlin, 877 F. Supp. 864, 871 (S.D.N.Y. 1995) . ln order to
state a constitutional claim, a plaintiff must make a showing that he has suffered, or will
imminently sufferl actual harm; that is, that he was "hindered [in] his efforts to pursue a
legal claim." LeW/'s v. Casey, 518 U.S. 343, 351 (1996); accord More//o v. James, 810
F.2d 344, 347 (2d Cir. 1987).

P|aintiff has not shown that he has suffered an actual injury traceable to the
challenged conduct ofjai| officia|s. A plaintiff has not shown actual injury unless he shows
that a "nonfrivo|ous legal claim had been frustrated or was being impeded" due to the

actions of prison officials. Lew/'s, 518 U.S. at 351-52. Taking P|aintiff’s claims as true, he

nevertheless offers no facts to explain how the stolen documents prejudiced his ability to

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“seek redress from the judicial system." Smith v. O’Connor, 901 F. Supp. 644, 649
(S.D.N.Y. 1995). Accordingly, P|aintiff’s claim that he has been denied access to the
courts is hereby dismissed with prejudice
C|aims Regarding Search and Seizure

P|aintiff alleges that the theft of his property constituted an unreasonable search
and seizure However, P|aintiff states that he was being moved from one facility to the
nextl and faults Defendants for their failure to preserve his property rather than for
entering his cell and observing the contents, which was plainly necessary and therefore
reasonable, under the circumstances See Hudson v. Pa/mer, 468 U.S. 517, 527-528,
104 (1984) (“the Fourth Amendment proscription against unreasonable searches does
not apply within the confines of the prison cell”); Wi/Iis v. An‘uz, 301 F.3d 65, 67 (2d Cir.
2002). P|aintiff’s allegations do not make out an unreasonable search or seizure, and his
Fourth and Fourteenth Amendment claims must therefore be dismissed with prejudice
C|aims of Conspiracy

P|aintiff raises his allegations as claims of conspiracy in violation of 42 U.S.C. §§
1983, 1985 and 1986. ln support of these claims he alleges in conclusory fashion that
Defendants participated in a scheme to control his property by allowing inmates free
access to it. "A complaint containing only conclusory, vague, or general allegations of
conspiracy to deprive a person of constitutional rights cannot withstand a motion to
dismiss," Sommer v. Dixon, 709 F.2d 173, 175 (2d Cir.) (per curiam), cen‘. denied, 464
U.S. 857, 104 S. Ct. 177, 78 L. Ed.2d 158 (1983); see also Leon v. Murphy, 988 F.2d
303, 311 (2d Cir. 1993) ("'where a plaintiff fails to produce any specific facts whatsoever

to support a conspiracy allegation, a district court may, in its discretion, refuse to permit

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discovery and grant summaryjudgment"') (quoting Contemporary Mission, lnc. v. United
States Posta/ Service, 648 F.2d 97, 107 (2d Cir. 1981)). Here, P|aintiff has alleged no
specific facts in support of his contention that the Defendants conspired against him, but
he instead simply claims in a vague, conclusory, and unsupported manner that
Defendants engaged in a conspiracy against him.

P|aintiff’s conclusory allegations of conspiracy are likewise insufficient to state a
claim of conspiracy in violation of § 1985 which prohibits “Conspiracy to interfere with civil
rights”, or § 1986, which deals with the failure to prevent violations of § 1985. The Second
Circuit has held:

The four elements of a § 1985(3) claim are: (1) a conspiracy; (2) for the

purpose of depriving, either directly or indirectly, any person or class of

persons of equal protection of the laws, or of equal privileges and

immunities under the |aws; (3) an act in furtherance cf the conspiracy; (4)

whereby a person is either injured in his person or property or deprived of

any right of a citizen of the United States. Furthermore, the conspiracy must

also be motivated by some racial or perhaps otherwise class-based,

invidious discriminatory animus behind the conspirators' action.

Mian v Dona/dson, Lufkin & Jenrette Sec. Corp.l 7 F.3d 1085, 1087-88 (2d Cir. 1993)
(citation and internal quotation marks omitted). P|aintiff’s allegations, accepted as true,
establish neither a conspiracy nor a racial or class-based animus. The Court finds that
P|aintiff’s allegations of conspiracy are without foundation and dismisses his conspiracy
claims with prejudice

Due Process C|aims for the Deprivation of Property

Final|y, P|aintiff raises the theft of his property as a violation of his right to due
process. Claims under § 1983 for a deprivation of property allege a violation of due

process provided by the Fourteenth Amendment. Harrington v. County of Suffolk, 607

F.3d 31, 34 (2d. Cir. 2010). “Claims for deprivation of property by a state actor, whether

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intentional or negligent, fail if the state provides for an adequate remedy to address the
alleged deprivation." Cameron v. Wise, No. 09 Civ. 967(PKC)(JLC), 2011 WL 1496341,
at *6 (S.D.N.Y., April 20, 2011) (citation omitted); Alloul v. City of New York, No. 09 Civ.
7726(JSR)(Fl\/l), 2010 WL 5297215, at *6-7 (S.D.N.Y. Dec. 21, 2010). “However, ‘an
adequate post-deprivation remedy is a defense to a Section 1983 due process claim only
where the deprivation is random and unauthorized.’ ” Cameron, 2011 WL 1496341, at *6
(quoting Reid v. City ofNew York, 212 Fed. App'x 10, 11 (2d Cir.2006) (summary order)
(citing But/er v. Castro, 896 F.2d 698, 700 (2d Cir.1990)). “The Second Circuit has
distinguished between the actions of lower ranking officials and those holding higher
positions, stating that actions taken by ‘a high ranking official having final authority over
the decision-making process . . . are not random or unauthorized.’ ” /d. (quoting Dwyer
v. Regan, 777 F.3d 825, 832 (2d Cir. 1985)).

P|aintiff has alleged that the deprivation of his property was done in violation of the
established procedures Therefore, it was a “random and unauthorized" act. But/er v.
Castro, 896 F.2d 698, 700 (2d Cir. 1990). Further, P|aintiff had an adequate state court
remedy available to him under § 52 of the New York County Law, which P|aintiff did not
pursue despite being provided with a Notice of C|aim form, see AI/ou/, 2010 WL 5297215,
at *6-7; Nogbou, 2009 WL 3334805, at *6 (dismissing plaintiff's § 1983 deprivation of
property claim for plaintiff's failure to avail himself of adequate state remedies).
Accordingly, P|aintiff’s claims alleging a due process violation relating to the loss of his
property fail to state a claim on which relief may be granted and must also be dismissed

with prejudice

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ORDER

 

lT HEREBY lS ORDERED, that P|aintiff’s Amended Complaint is dismissed with
prejudice;

FURTHER, that the Court hereby certifies, pursuant to 28 U.S.C. § 1915(a)(3), that
any appeal from this Order would not be taken in good faith, and leave to appeal to the
Court of Appea|s as a poor person is denied. Coppedge v. United States, 369 U.S. 438
(1962). Further requests to proceed on appeal as a poor person should be directed, on
motion, to the United States Court of Appeals for the Second Circuit, in accordance with

Rule 24 of the Federal Ru|es of Appellate Procedure.

Charl sJ Sir
United State Distr uSudge

SO ORDERED.

DATED: \/Ql\/h 53 ,2018

Rochester, NY

 

